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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
NICOLE JUAREZ ZELAYA, ) CASE NO: 2:20-cv-8382
Individually and as Successor-In-Interest )
to Decedent, JACOBO JUAREZ ) COMPLAINT FOR DAMAGES:
CEDILLO,
1. Fourth Amendment Violation of
Federal Civil Rights -- Excessive Use
Plaintiff, of Force (42 U.S.C. § 1983)
2. Municipal Liability -- Ratification of
vs. Civil Rights Violations
3. Municipal Liability for Inadequate

CITY OF LOS ANGELES; and DOES 1 Training (42 U.S.C. § 1983)

THROUGH 10, Inclusive, 4. Municipal Liability for
Unconstitutional Custom, Practice, or
Defendants. Policy (42 U.S.C. § 1983)

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[DEMAND FOR JURY TRIAL]

COMPLAINT FOR DAMAGES
Plaintiff NICOLE JUAREZ ZELAYA, individually, and as successor-in-interest of
Decedent, JACOBO JUAREZ CEDILLO, files the instant Complaint against Defendants
CITY OF LOS ANGELES, DOES 1-10, inclusive, and herein alleges as follows:

1
COMPLAINT FOR DAMAGES

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JURISDICTION AND VENUE
1. This civil action is brought to redress violations of the Fourth and Fourteenth

Amendments of the United States Constitution as protected by 42 U.S.C. §§ 1983.
Jurisdiction is founded on 28 U.S.C. §§ 1331 and 1343 and 42 U.S.C. § 1983. Venue is
proper in this Court under 28 U.S.C. § 1391(b) because Defendants reside in and all
incidents, events, and occurrences giving rise to this action occurred in the County of Los
Angeles, State of California, which is located in this Central District of California.
II.
PARTIES

2. Jacobo Juarez Cedillo (hereinafter “Decedent’) is the Decedent. Mr. Cedillo
died on April 13, 2019. At all relevant times, Plaintiff NICOLE JUAREZ ZELAYA was
and is a resident of the State of Washington.

3. Plaintiff NICOLE JUAREZ ZELAYA (Plaintiff “Zelaya”) is the decedent’s
biological daughter and brings survival claims in a representative capacity on the
Decedent’s behalf as his lawful successor-in-interest pursuant to California Code of Civil
Procedure § 377.30 and § 377.60. Plaintiff Zelaya also brings claims on her own behalf in
her individual capacity for the wrongful death of her father.

4. Defendant CITY OF LOS ANGELES (“CITY”) is, a municipal corporation
existing under the laws of the State of California. CITY is a chartered subdivision of the
State of California with the capacity to be sued. CITY is responsible for the actions,
omissions, policies, procedures, practices, and customs of its various agents and agencies,
including the Los Angeles Police Department and its agents and employees. At all
relevant times, Defendant CITY was responsible for assuring that the actions, omissions,
policies, procedures, practices, and customs of the and its employees and agents complied
with the laws of the United States and of the State of California. At all relevant times,
Defendant CITY was the employer of Defendant DOES 1-10. The Los Angeles Police
Department (“LAPD”) was and is a subdivision of CITY.

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COMPLAINT FOR DAMAGES

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5. At all times relevant hereto, DOES 1-10, were residents of Los Angeles
County, and at all times mentioned herein were acting under color of law, to wit, under the
color of the statutes, ordinances, regulations, policies, and customs, of the Los Angeles
Police Department, and under the color of the statutes, regulations, and laws of the State
of California. Said Defendants were acting within their capacity as employee, agent,
representative, and servant of the Defendant CITY.

6. Defendants DOES 1-10, as duly sworm peace Officers, were specifically
authorized by Defendant CITY to perform the duties and responsibilities of sworn Police
Officers and law enforcement Officers of the LAPD, and all acts hereinafter complained
of were performed by each of them within the course and scope of their duties as Los
Angeles Police Officers for Defendant CITY. DOES 1-10 are also sued herein in their
individual capacity and in their official capacity as peace Officers of the LAPD.
Defendant CITY and the LAPD encouraged, assisted, ratified and/or with deliberate
indifference failed to prevent all of the acts and omissions complained of herein.

7. The true names, identities or capacities, whether individual, associate, of
defendants DOES 1-10, inclusive, are unknown to Plaintiff at this time, who therefore
sues said defendants by such fictitious names. Plaintiff alleges that each of the defendants
sued herein as a DOES are legally responsible for the events and happenings that caused
the Decedent’s death. Plaintiff will amend the complaint to name the DOE Defendants
when their true names and identities discovered. All of the acts complained of herein by
Plaintiff against DOE Defendants were done and performed by said Defendants by and
through their servants, and/or employees, all of whom at all relevant times herein were
acting within the course, purpose, and scope of said service, and/or employment capacity;
and Defendants ratified all of the acts and omissions of each and every other Defendant.

8. At all times mentioned herein, each and every Defendant was the agent
and/or employee of each other acting within the scope and purpose of said agency and

employment and under color of law.

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COMPLAINT FOR DAMAGES

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III.
FACTS COMMON TO ALL CAUSES OF ACTION
9. Plaintiff re-alleges and incorporates by reference herein each and every
allegation contained herein above as though fully set forth herein in this cause of action.

10. On April 8, 2019, Decedent was peacefully sitting in the driveway of a Van

Nuys gas station and Decedent was approached by LAPD Officers, DOES 1 and 2.
Decedent had not committed a crime, Decedent was not suspected of committing a crime,
Decedent was not in the act of committing a crime when he was approached by Defendant
Officers, DOES 1 and 2. Immediately after approaching Decedent, DOES 1 and 2 placed
handcuffs on Decedent even though Decedent did not pose any threat to DOES 1 and 2.
Initially, Decedent was very cooperative with DOES 1 and 2, and Decedent was talking to
DOES 1 and 2. Decedent answered multiple questions that Officers DOES 1 and 2 asked
him. Decedent even said to DOE 1 and DOE 2, “Hey amigo, I’m homeless.” But then
Decedent became incoherent, agitated, and Decedent was in an altered mental state, or
having a mental crisis. DOES 1 and 2 did not contact the Mental Evaluation Unit after
Decedent became incoherent, and was in an altered mental state. Instead DOES 1 and 2
forcefully took Decedent to the ground. DOES 1-10 also arrived and DOE 3 “hog-tied”
Decedent’s legs with a hobble restraint on his legs.

11. While Decedent was in an altered mental state, DOES 1 and 2 restrained

Decedent in a prone position, face down in the street with his face pressed against the
pavement. While Decedent was restrained in a prone position for more than 4 minutes,

DOES | and 2 used their body weight to hold Decedent on the ground for more than 4

minutes. DOE 4, a Sergeant, arrived and did not intervene to stop the prone restraint.

12. DOES 1 and 2 put their body weight onto Decedent when Decedent was face

down and in a prone position and DOES 1 and 2, were applying pressure to Decedent’s

upper torso, and compression to the back and chest of Decedent. The entire time Decedent

was kept in the prone position, he remained handcuffed, and under the complete physical

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control of DOES 1 and 2 who were on top of Decedent. DOES 1 and 2 had their body
weight on top of Decedent for more than 4 minutes, and Decedent was prone and on his

stomach. DOE 4, the Sergeant, failed to intervene to stop DOES 1 and 2’s use of body

weight against Decedent.

13. While Officers DOES 1 and 2 were at the location of the driveway of the Van

Nuys gas station, Decedent did not pose an immediate threat of harm to DOES 1 and 2, or
to any other LAPD Officers, Defendants DOES 3-10. Decedent was not armed, and was in
an altered mental state acting erratically, but Decedent never physically or verbally
threatened the Defendants DOES 1-10. Decedent had not threatened anyone, and posed no
imminent threat of harm or bodily injury to anyone.

14. Even though Decedent did not pose any threat to Defendants DOES 1-10,
DOES 1-10 used excessive force against Decedent. DOES 1-10 forcefully kept Decedent

in a prone position for more than 4 minutes. At the same time, DOES 1 and 2 were

applying pressure to Decedent’s upper torso and compression to the back and chest; and

DOES | and 2 used their body weight to hold Decedent to the ground while they were on

top of Decedent, and while Decedent was face down and in a prone position.

15. As aresult of the use of force by Defendants DOES 1-10, Decedent endured

severe pain and suffering due to the excessive weight applied to Decedent’s back for a
prolonged period of time, while he was in a prone position. Decedent lost consciousness,
and was transported to Valley Presbyterian Hospital where he succumbed to his injuries
on April 13, 2019. The excessive use of force caused Decedent’s death due to anoxic
encephalopathy and cardiopulmonary arrest.

16. The County Coroner ascribed the cause of death as anoxic encephalopathy,
(cessation of cerebral blood flow to brain tissue) due to cardiopulmonary arrest, and the

Coroner also stated: “There is a temporal relationship between the cardiopulmonary arrest

after prone physical restraint by law enforcement and the decedent was reported to

become unresponsive after placement on gurney.” (Emphasis supplied).

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17. It is well known throughout law enforcement and medical professionals that
holding a subject in a prone position restraint can be deadly. Compressing an arrestee in a
prone position with a police Officer’s weight on his or her back, and/or upper torso,
restricts the ability to breathe and blood flow to the brain, and can result in anoxic
encephalopathy, which is a process that begins with the cessation of cerebral blood flow to
brain tissue, like in this case.

18. Deaths caused by asphyxiation are often referred to as deaths from positional,
mechanical, or compression asphyxia, manifested by a temporal relationship between the
cardiopulmonary arrest after prone physical restraint by law enforcement.

19. The United States Department of Justice, Office of Justice Programs,
National Institute of Justice, in June, 1995, informed Federal and State law enforcement
agencies about the dangers of prone restraint: “The risk of positional asphyxia is
compounded when an individual with predisposing factors becomes involved in a violent
struggle with an officer or officers, particularly when physical restraint includes behind-
the-back handcuffing combined with placing the subject in a stomach-down position.”
National Law Enforcement Technology Center, Positional Asphyxia Sudden Death at
page 2. (June 1995).

20. The dangers of Police Officers using carotid restraints, chokeholds, and prone
restraints that restrict or block blood flow to the brain, were acknowledged by the LAPD
on June 7, 2020. On June 7, 2020 Chief Michael Moore and Eileen Decker, President of
Police Commission, publicly announced that the Los Angeles Police Department has
instructed LAPD Officers not to use carotid restraints, chokeholds, prone restraints that
restrict or block blood flow to the brain, until the Police Commission of the City of Los

Angeles has finished a “detailed review” of LAPD policy regarding carotid restraint holds.

21. Due to the well-known risks associated with prone restraint, it is national law

enforcement best practice not to put an arrestee on his stomach in a prone position. For

example, the National Law Enforcement Technology Center references the New York

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Police Department Guidelines to Preventing Deaths in Custody: “* As soon as the subject
is handcuffed get him off his stomach. Turn him on his side or place him in a seated
position. ¢ If he continues to struggle, do not sit on his back. Hold his legs down or wrap
his legs with a strap. « Never tie the handcuffs to a leg or ankle restraint.”

22. The City of Los Angeles Police Department does not have a Policy similar to
the New York Police Department Guidelines to Preventing Deaths in Custody.

23. Instead, the only Policy that the City of Los Angeles has regarding prone

restraints is the following policy:

“The Department has authorized the use of the high-risk prone search to
ensure the safety of both officers and suspects. The high-risk prone search
shall only be used when the officer has a reasonable suspicion of a risk for
serious injury to the officer and/or the public. Note: A “reasonable
suspicion” can include an officer's observations of the suspect's activity, the
suspect's demeanor during the stop or any other factor that clearly indicates
the risk for serious injury. Any or all of these could give an officer a
reasonable suspicion that a suspect might be armed. The justification for
an extent of the search shall be based on current law applicable to searches.
The goal of any tactic, including search techniques, is to maintain
control of the suspect while reducing the potential for violence. The

use of the high-risk prone search tactic must be based on the totality

of the circumstances that reasonably pose a threat to officers or
bystanders. The high-risk prone search tactic shall not be used
routinely or as an instrument of intimidation. Officers will be held
accountable for the judicious use of discretion in the application of

this tactic. Additionally, officers shall be held responsible for
explaining to involved parties why this tactic was used.’

LAPD Procedure Manual § 574.

24. There is nothing in the LAPD Procedure Manual that would train LAPD
Officers about the dangers of applying pressure to an arrestee who is in a prone position
and applying pressure to an arrestee’s upper torso, back and chest. There is nothing in the
LAPD Procedure Manual that would train LAPD Officers about the dangers of Officers
using their body weight to hold arrestees to the ground while the Officers are on top of an
arrestee who is face down in a prone position.

25. Prior to the use of force and prone restraint of Decedent, DOES 1-10 failed to
ascertain whether or not the Decedent was a threat to himself or others, or whether there

was any immediate threat of death or serious bodily injury to others.

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26. The use of excessive use of force against Decedent by DOES 1-10 was
excessive and objectively unreasonable under the circumstances, because Decedent was
unarmed and surrounded by uniformed Officers, DOES 1-10, and Decedent did not pose
an immediate threat of death or serious bodily injury to anyone at the time of the arrest.

27. Defendants DOES 1-10 did not timely summon the Mental Evaluation Unit;
did not timely summon medical care or permit medical personnel to treat Decedent.

28. The intentional, reckless, negligent, and unjustified use of excessive force by
Officers DOES 1-10, was also a result of the negligent employment, negligent retention,
and negligent supervision, of DOES 1-10 by the City of Los Angeles.

29. Defendant City of Los Angeles, the Chief of Police, Commanders, and high
ranking supervisors, ratify, condone, and acquiesce in the filing of false police reports to
“cover up” the negligent and/or excessive use of force; and ratify, condone, and acquiesce,
in the falsification of evidence, the “planting” of evidence to “cover up” the negligent
and/or excessive use of force. Defendant City of Los Angeles, the Chief of Police,
Commanders, and high ranking supervisors, ratify, condone, and acquiesce in the
negligent and/or excessive use of force by its police officers, acting under color of law.

30. Asa direct and proximate result of Defendants’ acts and omissions, Plaintiff
has suffered the loss of love, affection, society, comfort, services, moral support, and
guidance of her father.

FIRST CLAIM FOR RELIEF
FOURTH AMENDMENT VIOLATION OF FEDERAL CIVIL RIGHTS
EXCESSIVE USE OF FORCE [42 U.S.C. § 1983]

(By Plaintiff individually and as Successor-In-Interest of Decedent
Against Defendant City of Los Angeles and DOES 1-10)
31. Plaintiff re-alleges and incorporates by reference herein each and every
allegation contained herein above as though fully set forth and brought in this cause of

action.

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COMPLAINT FOR DAMAGES

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32. This cause of action is to redress a deprivation, under color of authority,
statute, ordinance, regulation, policy, custom, practice or usage of a right, privilege and
immunity secured to Plaintiff by the Fourth and Fourteenth Amendments to the United
States Constitution.

33. Defendants Does 1 through 10, and each of them, owed a legal duty under the
U.S. Constitution not to use excessive force against Decedent.

34. Plaintiff alleges that Defendant City of Los Angeles and Does 1 through 10,
and each of them, breached these aforementioned legal duties intentionally, in all their
interactions with Decedent, on April 8, 2019, including, but not limited to, the use of
excessive and unreasonable force upon Decedent while he was unarmed.

35. Plaintiff herein alleges that Defendants Does 1 through 10, and each of them,
breached these aforementioned duties, which constituted violations of the civil rights of
the Decedent in violation of 42 U.S.C. § 1983, and in violation of the Fourth and
Fourteenth Amendments of the United States Constitution.

36. Plaintiff herein alleges that Does 1-10 intentional use of excessive and
unreasonable force upon Decedent, who was unarmed, was the legal cause of Decedent’s
death on April 13, 2019.

37. On April 8, 2019, Does 1 through 10, and each of them, violated Decedent’s
civil rights under the Fourth and Fourteenth Amendments to the United States
Constitution to be free from unreasonable search and seizure of his person, cruel and
unusual punishment, nor the deprivation of life and liberty and denial of due process of
law. The violation was under color of State and Federal law. Defendant Does 1 through
10, and each of them, acted in violation of the Fourth and Fourteenth Amendment of the
United States Constitution when Decedent was subjected to excessive force and
eventually died after being hospitalized by Defendant CITY’s Police Officers.

38. Decedent had a cognizable interest under the Due Process Clause of the

Fourteenth Amendment of the United States Constitution to be free from state actions that

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COMPLAINT FOR DAMAGES

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deprive him of his right to life, liberty, or property in such a manner as to shock the
conscience.

39. Asa result of the uses of excessive force by LAPD Officers, Decedent died.
Plaintiff ZELAYA was thereby deprived of her constitutional right of familial relationship
with Decedent.

40. Defendants City of Los Angeles, and Does 1-10, and each of their actions,
directly and proximately caused injuries and damages to Plaintiff, as set forth herein.

41. Defendants Does 1-10, are individually liable for the violation of Decedent
and Plaintiff's Civil Rights apart and aside from the customs, policies and practices of the
City of Los Angeles.

42. Asa direct and proximate result of the conduct of Defendants City of Los
Angeles, and Does 1-10, and each of them, Decedent has suffered the following injuries
and damages for which Plaintiff, as successor-in-interest, may recover:

a. Violation of Decedent’s Constitutional Rights under the Fourth and
Fourteenth Amendments to the United States Constitution to be free from
unreasonable search and seizure of her person, cruel and unusual
punishment, nor the deprivation of life and liberty and denial of due process
of law;

b. Loss of life, loss of enjoyment of life, and pre-death pain and suffering, as
well as the life-long deprivation of Decedent’s comfort, support, society,
care, and sustenance.

c. Conscious physical pain, suffering and emotional trauma during the
incident on April 8, 2019.

d. Punitive damages, except as to Defendant City of Los Angeles.

43. Asa direct and proximate result of the conduct of Defendant Does 1-10 and
each of them, Plaintiff suffered the following injuries, including but not limited to the loss

of love, companionship, affection comfort, society, moral support, and guidance, as a

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COMPLAINT FOR DAMAGES

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proximate result of the death of her father.
44.  Plantiff is entitlted to an awared of attorneys’ fees, costs and expenses under
42 U.S.C. § 1983, as a result of Defendants City of Los Angeles and Does 1-10, for the
violation of Decedent’s and Plaintiffs Civil Rights.
SECOND CLAIM FOR RELIEF
(42 U.S.C. § 1983)
MUNICIPAL LIABILITY — RATIFICATION OF CIVIL RIGHTS VIOLATIONS
(42 U.S.C. § 1983)

(By Plaintiff individually and as Successor-In-Interest of Decedent
Against Defendant City of Los Angeles and DOES 1-10)

45. Plaintiff re-alleges and incorporates by reference herein each and every
allegation contained herein above as though fully set forth and brought in this cause of
action.

46. Defendants DOES 1-10 acted under color of law.

47. The acts of Defendants DOES 1-10 deprived Decedent and Plaintiff of their
particular rights under the United States Constitution.

48. The City of Los Angeles ratified the Defendants’ acts and the basis for them.
The City of Los Angeles knew of, and specifically approved, of Defendants DOES 1-10’s
acts and omissions.

49. On March 31, 2020, the Defendant City of Los Angeles, through the Board of
Police Commissioners, made findings that determined that the acts of Defendants DOES
1-10 were “within policy” and within LAPD tactical training. Specifically, that in this
case, the Decedent was held in a prone position, for approximately four minutes and 13
seconds, with two Officers using their full body weight on the Decedent, and the Board of
Police Commissioners ruled that the Officers’ “tactics did not substantially deviate
from approved Department tactical training.” By this determination of the Board of

Police Commissioners the City of Los Angeles totally ratified the acts of DOES 1-10.

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COMPLAINT FOR DAMAGES

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50. The City of Los Angeles ratified the acts of Defendants DOES 1-10, and
ratified the basis for the acts of DOES 1-10. The City of Los Angeles knew of, and
specifically approved of, the acts of DOES 1-10, and ratified the acts of DOES 1-10. The
City of Los Angeles has determined that the acts of Defendants DOES 1-10 were “within
policy.” DOES 1-10 have not been disciplined or re-trained, and have not suffered any
adverse or negative consequences in their employment with the City of Los Angeles, and
this is further ratification by the City of Los Angeles.

51. By reason of the aforementioned acts and omissions, Plaintiff has suffered
the loss of love, companionship, affection, comfort, care, society, training, and guidance,
of Decedent. The aforementioned acts and omissions also caused Decedent pain and
suffering, loss of enjoyment of life, and death

52. Accordingly, Defendants CITY and DOES 1-10, are each liable to the
Plaintiff for compensatory damages under 42 U.S.C. § 1983.

53. Plaintiff brings this claim as Decedent’s successor-in-interest as defined in
Section 377.11 of the California Code of Civil Procedure and seeks survival damages for
the violation of Decedent’s rights. Plaintiff also seeks attorney’s fees.

THIRD CLAIM FOR RELIEF
MUNICIPAL LIABILITY — FAILURE TO TRAIN
(42 U.S.C. § 1983)

(By Plaintiff individually and as Successor-In-Interest of Decedent
Against Defendant City of Los Angeles and DOES 1-10)

54. Plaintiff re-alleges and incorporates by reference herein each and every
allegation contained herein above as though fully set forth and brought in this cause of
action.

55. The City of Los Angeles did not properly train its Police Officers about the
dangers of positional, compression, or mechanical asphyxia associated with prone

restraint. The City of Los Angeles and did not properly train its Police Officers about the

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COMPLAINT FOR DAMAGES

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dangers of applying pressure to an arrestee who is in a prone position; or about the
dangers of applying pressure to an arrestee’s upper torso, back and chest.

56. The City of Los Angeles did not properly train its Police Officers that
applying pressure to an arrestee who is in a prone position; or that using the body weight
of an Officer or Officers to apply pressure to an arrestee’s upper torso, back and chest can
cause death.

57. The City of Los Angeles did not properly train its Police Officers that it is
imperative that after an arrestee is handcuffed, the arrestee held in a prone position should
be moved face up, or on his or her side, or to a seated position, to protect the life of the
arrestee.

58. The City of Los Angeles did not properly train its Police Officers about the
positioning of restrained arrestees, specifically, the positioning of arrestees placed in a
prone position.

59. The City of Los Angeles did not properly train its Police Officers that
arrestees held in a prone position should be placed in a recovery position, and that the
breathing and consciousness of the arrestee should be monitored by the arresting Officers.

60. The City of Los Angeles did not properly train its Police Officers about the
risks of asphyxiation associated with prone restraint. The City of Los Angeles was legally
obligated to provide this type of training to its Police Officers.

61. The City of Los Angeles did not properly train its Police Officers about
proper police tactics while Officers apply pressure to an arrestee who is in a prone
position, and other Officers are applying pressure to an arrestee’s upper torso, back and
chest.

62. The City of Los Angeles did not properly train its Police Officers about
proper police tactics while Officers apply their body weight to an arrestee who is in a
prone position, and other Officers are applying their body weight to an arrestee’s upper

torso, back and chest.

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COMPLAINT FOR DAMAGES

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63. The City of Los Angeles did not properly train its Police Officers about the
danger of applying pressure to an arrestee who is in a prone position and Officers
applying pressure to an arrestee’s upper torso, back and chest.

64. The City of Los Angeles did not properly train its Police Supervisory staff,
such as Sergeants, Lieutenants, and Captains, to intervene to stop Police Officers from
using prone restraints against arrestees when the prone restraint becomes dangerous to the
arrestee.

65. The City of Los Angeles did not properly train its Police Supervisory staff,
such as Sergeants, Lieutenants, and Captains, to intervene to stop Police Officers from
using their body weight to an arrestee who is in a prone position, or other Officers are
applying their body weight to an arrestee’s upper torso, back and chest.

66. The City of Los Angeles did not properly train its Police Officers about the
dangers of Officers using their body weight to hold arrestees to the ground while the
Officers are on top of an arrestee who is face down in a prone position.

67. The City of Los Angeles did not properly train its Officers about tactics and
the use of the “hobble” restraint while Officers are holding an arrestee in a prone position

68. The City of Los Angeles is not properly training its Police Officers because
the City of Los Angeles is sending “mixed messages” to its Officers, and Supervisors,
regarding the training of tactics; regarding the training of LAPD Policies regarding prone
restraints; and the training of the dangers of prone restraints. In another case, the Board of
Police Commissioners of the City of Los Angeles found two LAPD Officers in
“substantial deviation” from Department tactical training for “allowing the Subject to
stay in the prone position for approximately three minutes.” However, in this case, the
Decedent was held in a prone position, for approximately four minutes and 13 seconds,
with two Officers using their full body weight on the Decedent, and the Board of Police
Commissioners ruled that the Officers’ “tactics did not substantially deviate from

approved Department tactical training.”

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COMPLAINT FOR DAMAGES

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69. The City of Los Angeles did not properly train its Police Officers to call for
assistance from the Mental Evaluation Unit when arrestees are in an altered mental state,
or having a mental crisis. The City of Los Angeles did not properly train its Police
Officers regarding how to effectuate a proper detention of a person who required mental
medical assistance. The City of Los Angeles did not properly train its Police Officers
regarding using other less deadly, reasonable methods when arrestees are in an altered
mental state, or having a mental crisis; and did not properly train its Police Officers on
how to detain arrestees who are in an altered mental state, or having a mental crisis,
without having to use objectively unreasonable force which ultimately killed Decedent.

70. The intentional and negligent conduct of DOES 1-10 was a result of the
negligent training by Defendant City of Los Angeles.

71. The intentional, reckless, negligent, and unjustified use of force by
Defendants DOES 1-10, was a result of the negligent training by the City of Los Angeles
in proper police tactics. The City of Los Angeles failed to train LAPD Officers as to
proper police tactics, proper use of force, proper use of deadly force, and proper detention
and arrest procedures. The City of Los Angeles was responsible for the training of LAPD
Officers to ensure that the actions, procedures, and practices of Police Officers complied
with Peace Officer Standards and Training (“POST”) training standards regarding proper
police tactics, and proper use of force. POST was established by the California Legislature
in 1959 to set minimum selection and training standards for California law enforcement
officers.

72. The Decedent’s death came about as a result of the lack of implementation of
proper procedures and training. Had the Defendants DOES 1-10 been properly trained,
and had such training been properly implemented, this incident would have been avoided.

73. The training by Defendant CITY, through the LAPD, was not adequate to
train its employees, agents, and staff to handle the usual and recurring situations with

which they must deal, such as recognizing the medical needs of a person screaming for

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help and how to properly detain that person without the use of excessive and unreasonable
force.

74. Police Officers of Defendant City of Los Angeles, DOES 1-10, acted under
color of law on the day of the April 8, 2019 incident.

75. The acts of Defendant City of Los Angeles, and DOES 1-10, deprived
Decedent and Plaintiff of particular rights under the United States Constitution.

76. The training policies of Defendant City of Los Angeles were not adequate to
train its Officers to handle the usual and recurring situations with which they must deal.

77. Defendant CITY was deliberately indifferent to the obvious consequences of
their failure to train LAPD Officers adequately.

78. The failure of Defendant CITY to provide adequate training caused the
deprivation of the Plaintiffs rights by Defendants; that is, the Defendant’s failure to train
is so closely related to the deprivation of the Plaintiffs rights as to be the moving force
that caused the ultimate injury.

79. By reason of the aforementioned acts and omissions, Plaintiff ZELAYA has
suffered loss of the love, companionship, affection, comfort, care, society, training,
guidance, and past and future support of Decedent. The aforementioned acts and
omissions also caused Decedent’s pain and suffering, loss of enjoyment of life, and death.

80. Accordingly, Defendants CITY and DOES 1-10 each are liable to Plaintiff
for compensatory damages, and punitive damages, except as to Defendant CITY,
including survival damages (for the decedent’s loss of life, loss of enjoyment of life, and
pre-death pain and suffering) and wrongful death damages (the life-long deprivation of the
decedent’s comfort, support, society, care and sustenance) under 42 U.S.C. § 1983 and
California Code of Civil Procedure § 377.30 and § 377.60. Plaintiff also seeks reasonable
attorneys’ fees pursuant to 28 U.C.S. § 1988, costs and interest.

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COMPLAINT FOR DAMAGES

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FOURTH CLAIM FOR RELIEF
Municipal Liability for Unconstitutional Custom or Policy (42 U.S.C. § 1983)

(By Plaintiff individually and as Successor-In-Interest of Decedent
Against Defendant City of Los Angeles and DOES 1-10)

81. Plaintiff re-alleges and incorporates by reference herein each and every
allegation contained herein above as though fully set forth and brought in this cause of
action.

82. Defendant Does 1 through 10 acted under color of law.

83. Defendant Does 1 through 10 acted pursuant to an expressly adopted official
policy or a longstanding practice or custom of the Defendant CITY.

84. On information and belief, Defendant CITY Officers’ killing of Decedent,
who was unarmed and not a threat to Officers, was ratified by CITY and its supervisorial
Officers, including but not limited to Chief Michel Moore.

85. On information and belief, Defendant CITY Officers, were not disciplined
for the use of force on Decedent who was unarmed when officers were on top of him.
Further, the Officers involved were not disciplined, reprimanded, suspended, or otherwise
penalized in connection with Decedent’s death.

86. On and for some time prior to April 8, 2019 (and continuing to the present
date) Defendant CITY and DOES 1-10, deprived Plaintiff and Decedent of the rights and
liberties secured to them by the Fourth and Fourteenth Amendments to the United States
Constitution, in that said Defendants and their supervising and managerial employees,
agents, and representatives, acting with gross negligence and with reckless and deliberate
indifference to the rights and liberties of the public in general, and of Plaintiff and
Decedent, and of persons in their class, situation and comparable position in particular,
knowingly maintained, enforced and applied an official recognized custom, policy, and

practice of:

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87.

(b)

(c)

(d)

(e)
(f)

(g)

Employing and retaining as CITY Officers and other personnel, who
Defendant CITY and DOES 1-10, at all times material herein knew or
reasonably should have known had dangerous propensities for abusing
their authority and for mistreating citizens by failing to follow written
LAPD policies, including the use of excessive force;

Of inadequately supervising, training, controlling, assigning, and
disciplining CITY Officers, and other personnel, who Defendants
CITY knew or in the exercise of reasonable care should have known
had the aforementioned propensities and character traits, including the
propensity for violence and the use of excessive force;

By maintaining grossly inadequate procedures for reporting,
supervising, investigating, reviewing, disciplining and controlling the
intentional misconduct by Defendant CITY Officers;

By failing to discipline LAPD Officers conduct, including but not
limited to, unlawful detention and excessive force;

By ratifying the intentional misconduct of Defendant CITY Officers;
By having and maintaining an unconstitutional policy, custom, and
practice of detaining and arresting individuals without probable cause
or reasonable suspicion, and using excessive force, including deadly
force, which also is demonstrated by inadequate training regarding
these subjects. The policies, customs, and practices of DOES 1-10,
were done with a deliberate indifference to individuals’ safety and
rights; and

By failing to properly investigate claims of unlawful detention and

excessive force by CITY Officers.

By reason of the aforementioned policies and practices of Defendant DOES

1-10, Decedent was severely injured and subjected to pain and suffering and lost his life.

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COMPLAINT FOR DAMAGES

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88. Defendant CITY and DOES 1-10, together with various other officials,
whether named or unnamed, had either actual or constructive knowledge of the deficient
policies, practices and customs alleged in the paragraphs above. Despite having
knowledge as stated above these defendants condoned, tolerated and through actions and
inactions thereby ratified such policies. Said Defendants also acted with deliberate
indifference to the foreseeable effects and consequences of these policies with respect to
the constitutional rights of Decedent, Plaintiff, and other individuals similarly situated.

89. By perpetrating, sanctioning, tolerating and ratifying the outrageous conduct
and other wrongful acts, Defendant CITY and DOES 1-10, acted with an intentional,
reckless, and callous disregard for the life of Decedent, and Decedent’s and Plaintiff’
constitutional rights. Defendant CITY and DOES 1-10, actions were willful, wanton,
oppressive, malicious, fraudulent, and extremely offensive and unconscionable to any
person of normal sensibilities.

90. Furthermore, the policies, practices, and customs implemented and
maintained and still tolerated by Defendant CITY and DOES 1-10, were affirmatively
linked to and were a significantly influential force behind the injuries of DECEDENT and
Plaintiff.

91. By reason of the aforementioned acts and omissions of Defendant CITY and
DOES 1-10, Plaintiff has suffered loss of love, companionship, affection, comfort, care,
society, and future support.

92. Accordingly, Defendant CITY and DOES 1-10 are liable to Plaintiff for
compensatory damages, and punitive damages, except as to Defendant CITY, including
survival damages (for the decedent’s loss of life, loss of enjoyment of life, and pre-death
pain and suffering) and wrongful death damages (the life-long deprivation of the
Decedent’s love, comfort, affection, guidance, society, and moral support) under 42
U.S.C. § 1983 and California Code of Civil Procedure § 377.30 and § 377.60. Plaintiff

also seeks reasonable attorneys’ fees pursuant to 28 U.S.C. §1988, costs, and interest.

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COMPLAINT FOR DAMAGES

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PRAYER FOR RELIEF

WHEREFORE, Plaintiff requests entry of judgment in her favor and against
Defendants CITY and DOES 1-10, inclusive, as follows:
A.

For compensatory damages, including both survival damages and
wrongful death damages under federal law, in the amount to be proven
at trial;

For survival damages under federal law, including damages for pre-
death pain and suffering, loss of enjoyment of life, and loss of life, in a
sum according to proof at trial;

For wrongful death damages under state and federal law, in a sum
according to proof at trial;

For past, present, and future non-economic damages;

For attorneys fees under §1988;

For funeral and burial expenses, and loss of financial support;

For other general damages in an amount according the proof at trial;
For other special damages in an amount according to proof at trial;

For punitive damages as to Defendants DOES 1-10 only.

For reasonable costs of this suit; and

For such further other relief as the Court may deem just, proper, and

appropriate.

CARRILLO LAW FIRM, LLP

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Luis A. Carrillo, Esq.,
Attorney for Plainti
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COMPLAINT FOR DAMAGES

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DEMAND FOR JURY TRIAL
The Plaintiff named herein hereby demands a trial by jury.

Dated: September 14, 2020 CARRILLO LAW FIRM, LLP

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By: _

Luis A. Carrillo, Esq.,
Attorney for Plainti

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COMPLAINT FOR DAMAGES

